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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


FARM SANCTUARY, et al.,
                                                             SCHEDULING ORDER
                              Plaintiffs,
                                                             19-CV-6910W
               v.

UNITED STATES DEPARTMENT OF
AGRICULTURE, et al.,

                              Defendants.




               Pursuant to the order of the Hon. Elizabeth A. Wolford, United States District

Judge, referring the above case to the undersigned for pretrial procedures and the entry of a

scheduling order as provided in Fed. R. Civ. P. Rule 16(b) and Local Rule 16, and a conference

having been held on November 2, 2021 with counsel relative to the matter, and counsel having

agreed that a judicial review of plaintiffs’ claims will be based on the administrative record and

that discovery is unnecessary, it is ORDERED that:

               1.      Defendants will electronically provide the administrative record to

plaintiffs and the Court by no later than November 10, 2021.

               2.      The parties will attempt to informally resolve any disputes about the

administrative record. In the event that disputes over the administrative record cannot be

resolved, plaintiffs will file any motion challenging the adequacy of the administrative record

(including issues related to a privilege log) by no later than January 14, 2022. No later than ten

(10) days following the Court’s ruling on those issues, the parties will provide a joint proposed

schedule for the briefing of summary judgment motions.
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               3.     If no motions relating to the adequacy of the administrative record are

filed, the parties shall provide the Court with a joint proposed schedule for the briefing summary

judgment motions by no later than January 7, 2022.

               No extension of the above cutoff dates will be granted except upon written

application, made prior to the cutoff date, showing good cause for the extension. Application for

extensions should be made to the Magistrate Judge. Joint or unopposed requests to extend the

deadlines set forth in this order need not be made by formal motion, but rather may be sought in

a letter to the court. Letter requests must detail good cause for the extension and propose new

deadlines.

IT IS SO ORDERED.


                                                                s/Marian W. Payson
                                                              MARIAN W. PAYSON
                                                            United States Magistrate Judge

Dated: Rochester, New York
       November 2, 2021




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